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                               UNITED STATES DISTRICT COURT
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                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
                                     WESTERN DIVISION
11

12    UNITED STATES OF AMERICA,                No. 2: 21−cv−09819−DSF
13               Plaintiff,                    CONSENT JUDGMENT OF FORFEITURE
14               vs.

15    2849.09758934 IN MONERO DIGITAL
      CURRENCY, 0.12554563 IN BITCOIN
16    DIGITAL CURRENCY, AND
      $56,467.00 IN U.S. CURRENCY,
17
                 Defendants.
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19
      LEANNA DEBELLEUE,
20
                 Potential Claimant.
21

22

23

24
            Plaintiff United States of America (“the government”) and
25
      Potential Claimant Leanna DeBellevue (“potential claimant”) have made
26
      a stipulated request for the entry of this Consent Judgment,
27
      resolving this action in its entirety.
28
            The Court, having considered the stipulation of the parties, and
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 1    good cause appearing therefor, HEREBY ORDERS, ADJUDGES AND DECREES:

 2          1.    This Court has jurisdiction over the subject matter of this

 3    action and the parties to this Consent Judgment of Forfeiture.

 4          2.    The Complaint for Forfeiture states a claim for relief

 5    pursuant to 21 U.S.C. § 881(a)(6) and 21 U.S.C. § 981.

 6          3.    Notice of this action has been given and published as

 7    required by law.     All potential claimants to the defendants

 8    2849.09758934 in Monero digital currency, 0.12554563 in Bitcoin

 9    digital currency, and $56,467.00 in U.S. Currency (the “defendant

10    assets”) other than potential claimant are deemed to have admitted

11    the allegations of the Complaint for Forfeiture to be true with

12    respect to the defendant assets.        The allegations set out in the

13    Complaint are sufficient to establish a basis for forfeiture.

14          4.    The sum of $28,500.00 only (without interest) shall be

15    returned to potential claimant.        The government shall have judgment

16    as to the remainder of the defendant assets, plus any interest earned

17    by the government on the entirety of the defendant assets since

18    seizure, and no other right, title or interest shall exist therein.

19    The government shall dispose of the forfeited funds in accordance

20    with law.

21          5.    The funds to be returned to potential claimant shall be

22    paid by electronic transfer or check.         Potential claimant shall

23    provide all information and complete all documents requested by the

24    government to facilitate the transfer.

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26    //

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 1          6.    There was reasonable cause for the seizure of the defendant

 2    assets and institution of these proceedings.          This judgment shall be

 3    construed as a certificate of reasonable cause pursuant to 28 U.S.C.

 4    § 2465. Potential claimant did not substantially prevail in this

 5    action, and the parties hereto shall bear their own attorney fees and

 6    costs.

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 8     Dated: June 28, 2022
                                            HON. DALE S. FISCHER
 9                                          UNITED STATES DISTRICT JUDGE
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